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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
             vs.                          )          No. 3:09-CR-00027(01)RM
                                          )
 DERRICK GLASS                            )

                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on April 28, 2009 [Doc. No. 21].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Derrick Glass’s plea of guilty, and FINDS the defendant guilty

 of Count 1 of the Indictment, in violation of 18 U.S.C. § 922(j).

       SO ORDERED.

       ENTERED:      May 26, 2009




                                          /s/ Robert L. Miller, Jr.
                                       Chief Judge
                                       United States District Court
